     Case 3:16-cv-02287-BAS-JLB Document 3 Filed 09/26/16 PageID.38 Page 1 of 1



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 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   DEMETRIUS SISSAC,                                   Case No.: 16-cv-02287-BAS(JLB)
12                                     Petitioner,
                                                         ORDER GRANTING MOTION TO
13   v.                                                  PROCEED IN FORMA PAUPERIS
14   W.L. MONTGOMERY, Warden, et al.,
15
                                   Respondents.
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17         Petitioner, a state prisoner proceeding pro se, has submitted a Petition for Writ of
18   Habeas Corpus pursuant to 28 U.S.C. § 2254, together with a request to proceed in forma
19   pauperis. Petitioner has $0.00 on account at the California correctional institution in
20   which he is presently confined. Petitioner cannot afford the $5.00 filing fee. Thus, the
21   Court GRANTS Petitioner’s application to proceed in forma pauperis, and allows
22   Petitioner to prosecute the above-referenced action without being required to prepay fees
23   or costs and without being required to post security. The Clerk of the Court shall file the
24   Petition for Writ of Habeas Corpus without prepayment of the filing fee.
25         IT IS SO ORDERED.
26   DATED: September 26, 2016              ____________________________
27                                          Hon. Cynthia Bashant
                                            United States District Judge
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